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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                      Chapter       11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/24
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Northvolt AB


                                                 NorthVolt AB
2. All other names debtor used
   in the last 8 years                           SGF Energy AB
                                                 Swedish Gigafactory AB
     Include any assumed names,                  Goldcup 11240 AB
     trade names, and doing
     business as names

3. Debtor’s federal Employer           SE 559015-8894
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       Alströmergatan 20
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       Stockholm                          Sweden 112 47
                                          City                            State     Zip Code          City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://northvolt.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor       Northvolt AB                                                        Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          335910

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

                                          ☒ Chapter 11. Check all that apply:

                                                            ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement of
                                                              operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                              chooses to proceed under Subchapter V of Chapter 11.
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                      ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No       District
   filed by or against the debtor     ☐ Yes.                                        When      MM/DD/YYYY     Case number
   within the last 8 years?
                                                 District                           When                     Case number
     If more than 2 cases, attach a                                                           MM/DD/YYYY
     separate list.




     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor     Northvolt AB                                                              Case number (if known)
          Name



10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes.                                                                      Relationship    Affiliate
                                                    Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                        District      Southern District of Texas
   List all cases. If more than 1,                                                                                 When            11/21/2024
   attach a separate list.                        Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this     Check all that apply:
    district?
                                      ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have       ☒ No
    possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the hazard?

                                                ☐     It needs to be physically secured or protected from the weather.

                                                ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                       (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                       other options).
                                                ☐     Other


                                                Where is the property?
                                                                                        Number        Street



                                                                                        City                               State       Zip Code



                                                Is the property insured?
                                                ☐ No

                                                ☐ Yes.         Insurance agency

                                                               Contact name
                                                               Phone




                 Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                     ☒ Funds will be available for distribution to unsecured creditors.
                                     ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of              ☐     1-49                         ☒       1,000-5,000                    ☐     25,001-50,000
    creditors                        ☐     50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
                                     ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                     ☐     200-999




   Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor     Northvolt AB                                                               Case number (if known)
          Name



15. Estimated assets                  ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                      ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities             ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
                                      ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         11/21/2024
                                                               MM/ DD / YYYY


                                               /s/ Pia Aaltonen-Forsell                                           Pia Aaltonen-Forsell
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Chief Financial Officer




18. Signature of attorney                      /s/ Charles A. Beckham, Jr.                                    Date        11/21/2024
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Charles A. Beckham, Jr.
                                               Printed name
                                               HAYNES AND BOONE, LLP
                                               Firm name
                                               1221 McKinney Street, Suite 4000
                                               Number                 Street
                                               Houston                                                                Texas             77010
                                               City                                                                   State               ZIP Code

                                               (713) 547-2000                                                         charles.beckham@haynesboone.com
                                               Contact phone                                                              Email address
                                               02010660                                            Texas
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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    Fill in this information to identify the case:

    United States Bankruptcy Court for the:
                              Southern District of Texas
                                          (State)                                                    ☐ Check if this is an
    Case number (if known):                                Chapter   11                                  amended filing


                                                        Rider 1
                         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Northvolt AB.1

       •    Northvolt AB
       •    Cuberg, Inc.
       •    Northvolt Ett AB
       •    Northvolt Ett Fastighetsförvaltning AB
       •    NV Texas, LLC
       •    Northvolt Labs AB
       •    Northvolt Revolt AB
       •    Northvolt Systems AB
       •    Northvolt Poland sp. z o.o.




1      In addition, on October 8, 2024, Northvolt Ett Expansion AB filed an application for bankruptcy in the District
       Court of Stockholm for relief under Swedish insolvency law. This filing occurred in Sweden rather than the United
       States and does not relate to any of the Debtors mentioned above.
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                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS

                                                         )
    In re:                                               )    Chapter 11
                                                         )
    NORTHVOLT AB,                                        )    Case No. 24-___________(___)
                                                         )
                                Debtor.                  )
                                                         )

                                     LIST OF EQUITY SECURITY HOLDERS2

                                            Preferred Share Class D1

               Equity Holder                Address of Equity Holder         Percentage of Equity Held3
    Volkswagen Finance Luxemburg          Route d’Arlon, Block B, L-8009,
                                                                                        31.43%
                 S.A.                          Strassen, Luxembourg
    West Street Capital Partners VII          2 Rue du Fosse, L-1536,
                                                                                        15.18%
    Investments Offshore II S.A.R.L.         Luxembourg, Luxembourg
                                            Avenida Burgos 118, 28050,
       BMW España Finance S.L.                                                           8.75%
                                                    Madrid, Spain
                                             Aurorum 12, 971 77, Luleå,
                Vattenfall AB                                                            5.88%
                                                       Sweden
     ABB Technology Ventures, a            Brown Boveri Strasse 6, 5400,
                                                                                         4.04%
    division of ABB Switzerland Ltd.               Baden, Sweden
                                          1-7-7 Nishi-Ikebukuro, Toshima-
                 TM Capital                                                              4.03%
                                            Ku, 171-0021, Tokyo, Japan
                                          Werner-von-Siemens-Strasse 1,
      Siemens Aktiengesellschaft                                                         3.97%
                                              80333, Munich, Germany
                                          Drammensveien 264, 283, Oslo,
         Hydro Energi Invest AS                                                          3.97%
                                                       Norway
                                               Kanalgatan 71, 931 80,
        Skellefteå Kraftaktiebolag                                                       3.95%
                                                 Skellefteå, Sweden
                                            Vagnmakarvägen 1, 151 32,
             Scania CV AB (publ)                                                         3.90%
                                                 Södertälje, Sweden
              Arbejdsmarkedets             Kongens Vænge 8, DK-3400,
                                                                                         3.32%
               Tillægspension                    Hillerød, Denmark
                                           Mälarvarvsbacken 28, 117 33,
               Vargas Holding                                                            2.76%
                                                Stockholm, Sweden
                                           Hedeager 42, 8200, Aarhus N,
         Wind Power Invest A/S                                                           1.98%
                                                      Denmark
                                          Alströmergatan 20, SE-112 47,
                Northville AB                                                            1.97%
                                                Stockholm, Sweden
                                           Klara Södra Kyrkogata 18, 113
      AMF Pensionsförsäkring AB                                                          1.82%
                                               88, Stockholm, Sweden
2      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007(a)(3) of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.

3      Equity holders whose percentage of equity held is reflected as “<0.01%” hold a de minimis amount of
       preferred D1 shares.
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                                      Dellaertweg 9G, 2316 WZ,
  Stichting IMAS Foundation                                                    1.27%
                                         Leiden, Netherlands
                                   Corso Vittorio Emanuelle II, 71,
     Fondaco SGR S.p.A.                                                        0.66%
                                           10128, Turin, Italy
                                    6D, Route de Treves, L-2633,
West Street Capital Partners VII
                                     Sinningerberg Luxembourg,                 0.18%
       – Parallel, SLP.
                                             Luxembourg
                                       Bohusgatan 14, 106 60,
Folksam ömsesidig livförsäkring                                                0.18%
                                          Stockholm, Sweden
     Folksam ömsesidig                 Bohusgatan 14, 106 60,
                                                                               0.18%
        sakförsäkring                     Stockholm, Sweden
  KPA Pensionsförsäkring AB            Bohusgatan 14, 106 60,
                                                                               0.18%
            (publ)                        Stockholm, Sweden
                                   c/o Rolf Carlsson, Lugna Gatan
    ROCARMA Consulting                                                         0.08%
                                     17, 211 59, Malmö, Sweden
                                       c/o Baillie Gifford, Calton
 Scottish Mortgage Investment      Square, 1 Greenside Row, EH1
                                                                               0.07%
           Trust plc                   3AN, Edinburgh, United
                                                Kingdom
                                   ℅ Cederwalls International Law
    New Quantum Leap AB             Firm, Eriksbergsgatan 10, 114              0.06%
                                       30, Stockholm, Sweden
                                   Heiligkreuz 2, FL-9490, Vaduz,
     Olympic Finance Inc.                                                      0.06%
                                             Liechtenstein
          [Redacted]                         [Redacted]                        0.03%

          [Redacted]                         [Redacted]                        0.02%

          [Redacted]                         [Redacted]                        0.02%

          [Redacted]                         [Redacted]                        0.02%
                                      c/o Baillie Gifford, Calton
Baillie Gifford European Growth    Square, 1 Greenside Row, EH1
                                                                               0.01%
             Trust plc                3AN, Edinburgh, United
                                               Kingdom
          [Redacted]                         [Redacted]                        0.01%

          [Redacted]                         [Redacted]                        0.01%

          [Redacted]                         [Redacted]                        <0.01%
                                      c/o Baillie Gifford, Calton
  Keystone Positive Change         Square, 1 Greenside Row, EH1
                                                                               <0.01%
    Investment Trust plc              3AN, Edinburgh, United
                                               Kingdom


                                     Preferred Share Class D2

        Equity Holder                Address of Equity Holder         Percentage of Equity Held
West Street Capital Partners VII      2 Rue du Fosse, L-1536,
                                                                               32.20%
Investments Offshore II S.A.R.L.     Luxembourg, Luxembourg
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     Volkswagen Finance            Route d’Arlon, Block B, L-8009,
                                                                               22.00%
       Luxemburg S.A.                  Strassen, Luxembourg
      Arbejdsmarkedets              Kongens Vænge 8, DK-3400,
                                                                               16.49%
       Tillægspension                     Hillerød, Denmark
                                   Klara Södra Kyrkogata 18, 113
  AMF Pensionsförsäkring AB                                                    9.02%
                                       88, Stockholm, Sweden
                                    Avenida Burgos 118, 28050,
  BMW España Finance S.L.                                                      7.61%
                                            Madrid, Spain
                                     Dellaertweg 9G, 2316 WZ,
  Stichting IMAS Foundation                                                    6.32%
                                        Leiden, Netherlands
                                   Corso Vittorio Emanuelle II, 71,
     Fondaco SGR S.p.A.                                                        3.26%
                                          10128, Turin, Italy
                                       Bohusgatan 14, 106 60,
Folksam ömsesidig livförsäkring                                                0.90%
                                         Stockholm, Sweden
     Folksam ömsesidig                 Bohusgatan 14, 106 60,
                                                                               0.90%
        sakförsäkring                    Stockholm, Sweden
  KPA Pensionsförsäkring AB            Bohusgatan 14, 106 60,
                                                                               0.90%
            (publ)                       Stockholm, Sweden
                                    6D, Route de Treves, L-2633,
West Street Capital Partners VII
                                     Sinningerberg Luxembourg,                 0.39%
       – Parallel, SLP.
                                             Luxembourg


                                     Preferred Share Class D3

        Equity Holder                Address of Equity Holder         Percentage of Equity Held
      Volkswagen Finance           Route d’Arlon, Block B, L-8009,
                                                                               37.00%
        Luxemburg S.A.                  Strassen, Luxembourg
West Street Capital Partners VII       2 Rue du Fosse, L-1536,
                                                                               26.01%
Investments Offshore II S.A.R.L.      Luxembourg, Luxembourg
       Arbejdsmarkedets             Kongens Vænge 8, DK-3400,
                                                                               13.32%
        Tillægspension                    Hillerød, Denmark
                                   Klara Södra Kyrkogata 18, 113
  AMF Pensionsförsäkring AB                                                    7.29%
                                       88, Stockholm, Sweden
                                    Avenida Burgos 118, 28050,
  BMW España Finance S.L.                                                      6.15%
                                            Madrid, Spain
                                     Dellaertweg 9G, 2316 WZ,
  Stichting IMAS Foundation                                                    5.10%
                                         Leiden, Netherlands
                                   Corso Vittorio Emanuelle II, 71,
     Fondaco SGR S.p.A.                                                        2.63%
                                          10128, Turin, Italy
                                       Bohusgatan 14, 106 60,
Folksam ömsesidig livförsäkring                                                0.73%
                                         Stockholm, Sweden
     Folksam ömsesidig                 Bohusgatan 14, 106 60,
                                                                               0.73%
        sakförsäkring                    Stockholm, Sweden
  KPA Pensionsförsäkring AB            Bohusgatan 14, 106 60,
                                                                               0.73%
            (publ)                       Stockholm, Sweden
                                    6D, Route de Treves, L-2633,
West Street Capital Partners VII
                                     Sinningerberg Luxembourg,                 0.31%
       – Parallel, SLP.
                                             Luxembourg
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                                     Preferred Share Class D4

        Equity Holder                Address of Equity Holder         Percentage of Equity Held
West Street Capital Partners VII      2 Rue du Fosse, L-1536,
                                                                               98.81%
Investments Offshore II S.A.R.L.     Luxembourg, Luxembourg
                                   6D, Route de Treves, L-2633,
West Street Capital Partners VII
                                    Sinningerberg Luxembourg,                  1.19%
       – Parallel, SLP.
                                           Luxembourg


                                     Preferred Share Class D5

        Equity Holder                Address of Equity Holder         Percentage of Equity Held
     Volkswagen Finance            Route d’Arlon, Block B, L-8009,
                                                                               100%
       Luxemburg S.A.                 Strassen, Luxembourg


                                     Preferred Share Class D6

        Equity Holder                Address of Equity Holder         Percentage of Equity Held
     Volkswagen Finance            Route d’Arlon, Block B, L-8009,
                                                                               46.70%
       Luxemburg S.A.                  Strassen, Luxembourg
      Arbejdsmarkedets              Kongens Vænge 8, DK-3400,
                                                                               23.26%
       Tillægspension                    Hillerød, Denmark
                                   Klara Södra Kyrkogata 18, 113
  AMF Pensionsförsäkring AB                                                    12.72%
                                      88, Stockholm, Sweden
                                     Dellaertweg 9G, 2316 WZ,
  Stichting IMAS Foundation                                                    8.91%
                                        Leiden, Netherlands
                                   Corso Vittorio Emanuelle II, 71,
     Fondaco SGR S.p.A.                                                        4.59%
                                         10128, Turin, Italy
                                      Bohusgatan 14, 106 60,
Folksam ömsesidig livförsäkring                                                1.27%
                                        Stockholm, Sweden
     Folksam ömsesidig                Bohusgatan 14, 106 60,
                                                                               1.27%
        sakförsäkring                   Stockholm, Sweden
  KPA Pensionsförsäkring AB           Bohusgatan 14, 106 60,
                                                                               1.27%
            (publ)                      Stockholm, Sweden


                                     Preferred Share Class E1

        Equity Holder                Address of Equity Holder         Percentage of Equity Held
                                      c/o Baillie Gifford, Calton
 Scottish Mortgage Investment      Square, 1 Greenside Row, EH1
                                                                             20.8735%
           Trust plc                  3AN, Edinburgh, United
                                               Kingdom
      Volkswagen Finance           Route d’Arlon, Block B, L-8009,
                                                                             20.6357%
        Luxemburg S.A.                 Strassen, Luxembourg
West Street Capital Partners VII      2 Rue du Fosse, L-1536,
                                                                             15.0532%
Investments Offshore II S.A.R.L.     Luxembourg, Luxembourg
                                    47 Esplanade St Helier, JE1
 Bridford Investments Limited                                                10.8635%
                                        0BD, Jersey, Jersey
                                     Schulstrasse 4, CH-8500,
       PCS Holding AG                                                         7.7597%
                                      Frauenfeld, Switzerland
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                                   c/o Ekonomiföretaget Baehring
    Antheia Investment AB           Dahl AB, Berga Allé 3, 254 52,   3.8798%
                                         Helsingborg, Sweden
                                            c/o Allgemeines
  Camshaft Holdings Limited        Treuunternehmen, Äulestrasse      3.1039%
                                      5, FL-9490, Vaduz, Austria
                                   Corporation Trust Center, 1209
    Stonebridge 2020, L.P.               Orange Street, 19801,       2.7331%
                                      Wilmington, United States
                                      Dellaertweg 9G, 2316 WZ,
  Stichting IMAS Foundation                                          2.5383%
                                          Leiden, Netherlands
                                       c/o Baillie Gifford, Calton
                                   Square, 1 Greenside Row, EH1
The Schiehallion Fund Limited                                        1.6017%
                                        3AN, Edinburgh, United
                                                Kingdom
                                    767 Fifth Avenue, 48th Floor,
      Baron Growth Fund                                              1.4511%
                                   10153, New York, United States
                                    P.O. Box 309, Ugland House,
  Stonebridge 2020 Offshore
                                    South Church Street, Cayman      1.4310%
       Holdings II, L.P.
                                                 Islands
          [Redacted]                           [Redacted]            1.0694%
                                     Vagnmakarvägen 1, 151 32,
     Scania CV AB (publ)                                             0.9475%
                                          Södertälje, Sweden
                                       c/o Baillie Gifford, Calton
Baillie Gifford European Growth    Square, 1 Greenside Row, EH1
                                                                     0.8536%
             Trust plc                  3AN, Edinburgh, United
                                                Kingdom
                                     c/o Norrsken House, Fack 1,
  Stockholmsnorrskenet Co-
                                    Birger Jarlsgatan 57C, 11356,    0.8536%
    Investment 2 (NV) AB
                                          Stockholm, Sweden
                                     c/o Norrsken House, Fack 1,
       NVC Fund 1 AB                Birger Jarlsgatan 57C, 11356,    0.5432%
                                          Stockholm, Sweden
                                    6700 Broken Sound Parkway
AE Industrial HorizonX Venture
                                       NW, 33487, Boca Raton,        0.5097%
          Fund I, LP
                                         Florida, United States
          [Redacted]                           [Redacted]            0.4736%
                                     10045 Windfern Rd, 77064,
    Lithion Power (US) Inc.                                          0.3533%
                                        Houston, United States
                                    6D, Route de Treves, L-2633,
West Street Capital Partners VII
                                     Sinningerberg Luxembourg,       0.1818%
       – Parallel, SLP.
                                              Luxembourg
          [Redacted]                           [Redacted]            0.1130%
                                    767 Fifth Avenue, 48th Floor,
  VY Baron Growth Portfolio                                          0.1009%
                                   10153, New York, United States
          [Redacted]                           [Redacted]            0.0829%
                                   333 7th Avenue SW, #970, T2P
  Lithion Power Group LTD.                                           0.0782%
                                         2Z1, Calgary, Canada
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      Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 11 of 63



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Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 13 of 63



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                                        Preferred Share Class E2

            Equity Holder               Address of Equity Holder        Percentage of Equity Held4
         Volkswagen Finance           Route d’Arlon, Block B, L-8009,
                                                                                 22.5860%
            Luxemburg S.A.                 Strassen, Luxembourg
    Volta III Investments Holdings,       2, Rue du Fossé, L-1536,
                                                                                 18.9006%
                 S.À R.L.                       Luxembourg
          4 to 1 Investments          c/o Fjärde AP-fonden Box 3069,
                                                                                 14.5197%
            Kommanditbolag              103 61, Stockholm, Sweden
4    Equity holders whose percentage of equity held is reflected as “<0.0001%” hold a de minimis amount
     of preferred E2 shares.
       Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 19 of 63



                                        2, Rue du Fossé, L-1536,
WSCP VIII Investments S.à r.l.                                         8.0930%
                                                Luxembourg
                                        c/o Baillie Gifford, Calton
 Scottish Mortgage Investment       Square, 1 Greenside Row, EH1
                                                                       5.6610%
           Trust plc                     3AN, Edinburgh, United
                                                  Kingdom
       Arbejdsmarkedets              Kongens Vænge 8, DK-3400,
                                                                       5.2634%
        Tillægspension                      Hillerød, Denmark
                                          c/o OMERS Corporate
                                     Secretariat, 900-100 Adelaide
      OCM Holdings Inc.                                                3.6299%
                                       St. W, M5H 0E2, Toronto,
                                                  Canada
                                    Klara Södra Kyrkogata 18, 113
  AMF Pensionsförsäkring AB                                            3.1413%
                                         88, Stockholm, Sweden
                                        2 Rue du Fossé, L-1536,
    HECS Holding S.À R.L.                                              3.0035%
                                                Luxembourg
                                       Dellaertweg 9G, 2316 WZ,
  Stichting IMAS Foundation                                            2.6633%
                                           Leiden, Netherlands
                                      47 Esplanade St Helier, JE1
  Bridford Investments Limited                                         1.6335%
                                           0BD, Jersey, Jersey
  WSCP VIII Emp Investments             2, rue du Fossé, L-1536,
                                                                       1.4568%
            S.à r.l.                            Luxembourg
West Street Capital Partners VII        2 Rue du Fosse, L-1536,
                                                                       1.4346%
Investments Offshore II S.A.R.L.                Luxembourg
                                     22 Grenville Street, JE4 8PX,
 GLQ International Partners LP                                         1.3463%
                                             St. Helier, Jersey
                                       Schulstrasse 4, CH-8500,
       PCS Holding AG                                                  1.0325%
                                         Frauenfeld, Switzerland
                                     Vagnmakarvägen 1, 151 32,
      Scania CV AB (publ)                                              0.9942%
                                            Södertälje, Sweden
                                    Corso Vittorio Emanuelle II, 71,
     Fondaco SGR S.p.A.                                                0.8250%
                                             10128, Turin, Italy
                                     Box 4088, 400 40, Göteborg,
 Stena Metall Finans Invest AB                                         0.7260%
                                                  Sweden
                                    High Tech Campus, Eindhoven,
      KIC Innoenergy SE                EIT, Building 69, 5600 JW,      0.4719%
                                         Eindhoven, Netherlands
                                           1209 Orange Street,
     HECS Emp Onshore
                                     Wilmington, DE, 19801United       0.2955%
      Investments, L.P
                                                   States
                                     767 Fifth Avenue, 49th Floor,
     Baron Partners Fund             NY 10153, New York, United        0.2839%
                                                   States
West Street Capital Partners VIII       2, rue du Fossé, L-1536,
                                                                       0.2175%
       - Parallel, S.à r.l.                     Luxembourg
                                    c/o Ekonomiföretaget Baehring
    Antheia Investment AB           Dahl AB, Berga Allé 3, 254 52,     0.1815%
                                          Helsingborg, Sweden
                                              c/o Allgemeines
  Camshaft Holdings Limited         Treuunternehmen, Äulestrasse       0.1815%
                                       5, FL-9490, Vaduz, Austria
                                     1 Letterman Drive, Bldg D M-
    Norse DF Holdings, LP           500, CA 94129, San Francisco,      0.1815%
                                               United States
       Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 20 of 63



                                       c/o Baillie Gifford, Calton
Baillie Gifford European Growth    Square, 1 Greenside Row, EH1
                                                                     0.1585%
             Trust plc                 3AN, Edinburgh, United
                                                Kingdom
                                       c/o Baillie Gifford, Calton
                                   Square, 1 Greenside Row, EH1
The Schiehallion Fund Limited                                        0.1245%
                                       3AN, Edinburgh, United
                                                Kingdom
                                    P.O. Box 309, Ugland House,
     HECS Emp Offshore
                                    South Church Street, George      0.1092%
      Investments, L.P.
                                        Town, Cayman Islands
                                    c/o Norrsken House, Fack 1,
       NVC Fund 1 AB                Birger Jarlsgatan 57C, 11356,    0.0994%
                                          Stockholm, Sweden
                                   Raketstigen 24 181 57 Lidingö,
      Hagåsen Invest AB                                              0.0508%
                                                 Sweden
                                       c/o Baillie Gifford, Calton
  Keystone Positive Change         Square, 1 Greenside Row, EH1
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    Investment Trust plc               3AN, Edinburgh, United
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                                     Ordinary Share Class A

        Equity Holder               Address of Equity Holder         Percentage of Equity Held
                                    Mälarvarvsbacken 28, 117 33,
       Vargas Holding                                                       32.2319%
                                          Stockholm, Sweden
                                   c/o Rolf Carlsson, Lugna Gatan
    ROCARMA Consulting                                                      30.8186%
                                     17, 211 59, Malmö, Sweden
Stena Metall Finans Invest AB        400 40, Göteborg, Sweden                7.9896%
                                  c/o Cederwalls International Law
   New Quantum Leap AB              Firm, Eriksbergsgatan 10, 114            5.1554%
                                        30, Stockholm, Sweden
                                  High Tech Campus, Eindhoven,
      KIC Innoenergy SE               EIT, Building 69, 5600 JW,             2.9019%
                                       Eindhoven, Netherlands
         Vattenfall AB               169 92, Stockholm, Sweden               1.7755%
                                       c/o Baillie Gifford, Calton
Scottish Mortgage Investment      Square, 1 Greenside Row, EH1
                                                                             1.3609%
          Trust plc                     3AN, Edinburgh, United
                                                Kingdom
      4 to 1 Investments          c/o Fjärde AP-fonden Box 3069,
                                                                             1.2539%
       Kommanditbolag                103 61, Stockholm, Sweden
          [Redacted]                           [Redacted]                    1.2491%
          [Redacted]                           [Redacted]                    0.8826%
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     Rocarma Friends AB                                                      0.8012%
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                                    6700 Broken Sound Parkway
AE Industrial HorizonX Venture
                                       NW, 33487, Boca Raton,                0.4589%
          Fund I, LP
                                         Florida, United States
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                                       c/o Baillie Gifford, Calton
Baillie Gifford European Growth   Square, 1 Greenside Row, EH1
                                                                             0.3965%
             Trust plc                  3AN, Edinburgh, United
                                                Kingdom
 South Bay Solutions Gdansk         Żeglarska 4, 80-273, Gdańsk,
                                                                             0.3569%
         SP. z o.o.                              Poland
                                     10045 Windfern Rd, 77064,
    Lithion Power (US) Inc.                                                  0.3183%
                                        Houston, United States
                                   c/o Maples Corporate Services
    Baillie Gifford Private         Limited, PO Box 309, Ugland
                                                                             0.2911%
   Companies Fund II L.P.              House, KY1-1104, Grand
                                      Cayman, Cayman Islands
                                       Amstelplein 48, 1096BC,
  European Battery Fund CV                                                   0.2824%
                                       Amsterdam, Netherlands
                                       c/o Baillie Gifford, Calton
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                                   Heiligkreuz 2, FL-9490, Vaduz,
     Olympic Finance Inc.                                                    0.2692%
                                              Liechtenstein
     Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 35 of 63



                              c/o JRS, Birger Jarlsgatan 14,
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     HS Stockholm AB                                           0.1420%
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     PCS Holding AG                                            0.0687%
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      PIF Fund I LP                Cayman, KY1-1208,           0.0639%
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AMF Pensionsförsäkring AB                                      0.0437%
                                 88, Stockholm, Sweden
      Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 36 of 63



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Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 45 of 63



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Spencer Management Services   Bronsfyndsgatan 29, 421 63,
                                                            0.0004%
            AB                  Västra frölunda, Sweden
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          Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 47 of 63



                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 NORTHVOLT AB,                                        )    Case No. 24-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                              Preferred Share Class D1
                                             Approximate Percentage of Shares
                  Shareholder
                                                          Held
      Volkswagen Finance Luxemburg S.A.                                      31.43%
    West Street Capital Partners VII Investments
                                                                             15.18%
                Offshore II S.A.R.L.


                              Preferred Share Class D2
                                             Approximate Percentage of Shares
                  Shareholder
                                                          Held
    West Street Capital Partners VII Investments
                                                                             32.20%
                Offshore II S.A.R.L.
      Volkswagen Finance Luxemburg S.A.                                      22.00%
        Arbejdsmarkedets Tillægspension                                      16.49%


                              Preferred Share Class D3
                                             Approximate Percentage of Shares
                  Shareholder
                                                          Held
      Volkswagen Finance Luxemburg S.A.                                      37.00%
    West Street Capital Partners VII Investments
                                                                             26.01%
                Offshore II S.A.R.L.
        Arbejdsmarkedets Tillægspension                                      13.32%


                              Preferred Share Class D4
                                             Approximate Percentage of Shares
                  Shareholder
                                                          Held
    West Street Capital Partners VII Investments
                                                                             98.81%
                Offshore II S.A.R.L.
    Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 48 of 63




                          Preferred Share Class D5
                                         Approximate Percentage of Shares
              Shareholder
                                                      Held
   Volkswagen Finance Luxemburg S.A.                        100%


                          Preferred Share Class D6
                                         Approximate Percentage of Shares
              Shareholder
                                                      Held
   Volkswagen Finance Luxemburg S.A.                        46.70%
     Arbejdsmarkedets Tillægspension                        23.26%
        AMF Pensionsförsäkring AB                           12.72%


                          Preferred Share Class E1
                                         Approximate Percentage of Shares
              Shareholder
                                                      Held
  Scottish Mortgage Investment Trust plc                   20.8735%
  Volkswagen Finance Luxemburg S.A.                        20.6357%
West Street Capital Partners VII Investments
                                                           15.0532%
            Offshore II S.A.R.L.
       Bridford Investments Limited                        10.8635%


                          Preferred Share Class E2
                                         Approximate Percentage of Shares
              Shareholder
                                                      Held
   Volkswagen Finance Luxemburg S.A.                       22.5860%
  Volta III Investments Holdings, S.À R.L.                 18.9006%
    4 to 1 Investments Kommanditbolag                      14.5197%


                                 Ordinary Share Class A
                                               Approximate Percentage of Shares
              Shareholder
                                                            Held
            Vargas Holding                                 32.2319%
          ROCARMA Consulting                               30.8186%
                          Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 49 of 63


      Fill in this information to identify the case:

      Debtor name     Northvolt AB, et al.
      United States Bankruptcy Court for the:     Southern              District of    Texas

      Case number (If known):
                                                                                      (State)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete mailing             Name, telephone number, and              Nature of the    Indicate if   Amount of unsecured claim
     address, including zip code                       email address of creditor contact        claim (for       claim is      If the claim is fully unsecured, fill in only
                                                                                                example, trade   contingent, unsecured claim amount. If claim is partially
                                                                                                debts, bank      unliquidated, secured, fill in total claim amount and
                                                                                                loans,           or disputed deduction for value of collateral or setoff to
                                                                                                professional                   calculate unsecured claim.
                                                                                                services, and
                                                                                                                                Total       Deduction for   Unsecured
                                                                                                                                partially   value of        claim
                                                                                                                                secured     collateral or
                                                                                                                                            setoff
                                                                                     VOLTA
1    VOLTA                                        ATTN LUKAS AKEME                CONVERTIBLE
     LISE-MEITNER-ALLE 19                         E:                             NOTE (2022/2023                                                            $3,850,188,187.00
     BOCHUM, 44801 GERMANY                        MARVIN.LEITMANN@VOLTAVISION.DE CONVERTIBLE
                                                                                  INSTRUMENT)

2    KFW                                                                                            KFW
                                                  ATTN MANUEL WAWRIK
     PALMENGARTENSTRAßE 5                                                                       SUBORDINATED                                                 $695,965,705.00
                                                  E: MANUEL.WAWRIK@KFW.DE
     FRANKFURT AM MAIN, 60325 GERMANY                                                               NOTE


3    VOLKSWAGEN
                                                                                                    VW
     INDUSTRIESTRASSE
                                                  ATTN LEGAL DEPARTMENT                         CONVERTIBLE                                                  $355,286,662.00
     NORD,VOLKSWAGENWERK
                                                                                                AGREEMENT
     SALZGITTER, 38231 GERMANY


4    NORDIC TRUSTEE AND AGENCY (PUBL)             ATTN LEGAL DEPARTMENT
                                                                                                SHAREHOLDER
                                                                                                   BRIDGE
     NORRLANDSGATAN 16                            T:4687837900                                                                                               $154,000,000.00
                                                                                                  FACILITY
     STOCKHOLM, 111 43 SWEDEN                     E: SWEDEN@NORDICTRUSTEE.COM
                                                                                                 AGREEMENT


5    SFA ENGINEERING CORP.
                                                  ATTN TAEHYUNG LEE
     DONGTANSUNHWANDAERO 29-GIL 25                                                              TRADE VENDOR                                                 $30,177,985.00
                                                  E: TAEHYUNG.LEE@SFA.CO.KR
     HWASEONG-SI, 18472 KOREA, REPUBLIC OF


6    BHP BILLITON MARKETING AG
     10 MARINA BOULEVARD #18-01, MARINA BAY       ATTN LON UNTALAN
                                                                                                TRADE VENDOR                                                 $30,156,103.00
     FINANCIAL CENTRE TOWER 2                     E: LON.UNTALAN@BHP.COM
     SINGAPORE, SINGAPORE


7    AXIMA CONCEPT SWEDEN FILIAL
                                                  ATTN SOPHIE GRANJU
     ODINSGATAN 28                                                                              TRADE VENDOR                                                 $21,539,705.00
                                                  E: SOPHIE.GRANJU@EQUANS.COM
     GÖTEBORG, 411 03 SWEDEN


8    WUXI LEAD INTELLIGENT EQUIPMENT CO,
     LTD                                          ATTN CEN ZIYU
                                                                                                TRADE VENDOR                                                 $19,662,071.00
     NO.20 XINXI ROAD, XINWU DISTRICT             E: SHENJIA.DONG@LEADCHINA.CN
     WUXI, CHINA




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                     page 1
                           Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 50 of 63

                        Northvolt AB, et al.                                                  Case number (if known)
    Debtor
                 Name




     Name of creditor and complete mailing        Name, telephone number, and         Nature of the     Indicate if   Amount of unsecured claim
     address, including zip code                  email address of creditor contact   claim (for        claim is      If the claim is fully unsecured, fill in only
                                                                                      example, trade    contingent, unsecured claim amount. If claim is
                                                                                      debts, bank       unliquidated, partially secured, fill in total claim amount
                                                                                      loans,            or disputed and deduction for value of collateral or
                                                                                      professional                    setoff to calculate unsecured claim.
                                                                                      services, and
                                                                                                                        Total        Deduction       Unsecured
                                                                                                                        claim, if    for value of    claim
                                                                                                                        partially    collateral
                                                                                                                        secured      or setoff

     EASPRING TECHNOLOGY (CHANGZHOU)
9    NEW MATERIAL CO., LTD.
     NO.155 JINCHENG AVENUE JINTAN DISTRICT ATTN SHERRY ZHUANG                        TRADE VENDOR                                                   $16,904,600.00
     CHANGZHOU CITY
     CHANGZHOU, 213200 CHINA

10 BRAVIDA SVERIGE AB                           ATTN OLOV DANIELSSON
     MIKROFONVÄGEN 28                           T:46706028323                         TRADE VENDOR                                                   $10,032,324.00
     HÄGERSTEN, 126 38 SWEDEN                   E: ANDERS.ATTEFJORD@BRAVIDA.SE


11 MICROSOFT AB
                                                ATTN LEGAL DEPARTMENT
     REGERINGSGATAN 25                                                                TRADE VENDOR                                                    $8,908,034.00
                                                E: EMEAOOWI@MICROSOFT.COM
     STOCKHOLM, 111 53 SWEDEN


12 JIANGSU EASPRING MATERIAL
     TECHNOLOGY CO, LTD
     YANGTZE RIVER ROAD, EASTERN, LINGDIAN ATTN CRISSY (CHANG) JIANG
                                                                                      TRADE VENDOR                                                    $7,075,200.00
     INDUSTRIAL CONCENTRATION ZONE,        E: SALE@EASPRING.COM.CN
     LINJIANG DISTRICT, HAIMEN, JIANGSU
     , 226133 CHINA

13
     LF CO,LTD
     11, IGOKDONG-RO, DALSEO-GU, DAEGU,         ATTN EVELYN LEE
                                                                                      TRADE VENDOR                                                    $6,251,703.00
     REPUBLIC OF KOREA                          E: LCHAEW@LANDF.CO.KR
     DAEGU, 42620 KOREA, REPUBLIC OF


14 TIANQI LITHIUM KWINANA PTY LTD               ATTN CHRISTOPHER COUTINHO
     61 DONALDSON RD                            E:                                    TRADE VENDOR                                                    $6,092,190.00
     KWINANA BEACH, 6167 AUSTRALIA              JESSICA.YU@TIANQILITHIUM.COM.AU


15 SODEXO AB
                                                ATTN JOHAN ISRAELSSON
     DALVÄGEN 22                                                                      TRADE VENDOR                                                    $5,880,104.00
                                                E: DAMON.NIKKA@SODEXO.COM
     SOLNA, 169 79 SWEDEN


16 SKELLEFTEÅ KRAFTAKTIEBOLAG
                                                ATTN TOMAS LADÅS
     KANALGATAN 71                                                                    TRADE VENDOR                                                    $5,507,600.00
                                                E: MAJA.FORSMAN@SKEKRAFT.SE
     SKELLEFTEÅ, 931 80 SWEDEN


17 BNP PARIBAS SA                               ATTN LEGAL DEPARTMENT
                                                E:
     16 BD DES ITALIENS                                                               TRADE VENDOR                                                    $5,217,212.00
                                                GROUP.GSS.S2P.MIDDLE.OFFICE@BN
     PARIS, 75009 FRANCE
                                                PPARIBAS.COM


18 RJ AND COLLAB GMBH
                                                ATTN RJ YOUNG
     GOSTRITZER STR 65                                                                TRADE VENDOR                                                    $5,032,832.00
                                                E: YOUNG-EUM@RJNCOLLAB.COM
     DRESDEN, 1217 GERMANY


19 GOLDMAN SACHS BANK EUROPE SE
                                                ATTN LEGAL DEPARTMENT
     MARIENTURMTAUNUSANLAGE 9-10                                                      TRADE VENDOR                                                    $4,777,542.00
                                                E: IBDINVOICING@GS.COM
     FRANKFURT AM MAIN, 60329 GERMANY




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                               page 2
                      Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 51 of 63


   Name of creditor and complete mailing     Name, telephone number, and         Nature of the    Indicate if   Amount of unsecured claim
   address, including zip code               email address of creditor contact   claim (for       claim is      If the claim is fully unsecured, fill in only
                                                                                 example, trade   contingent, unsecured claim amount. If claim is
                                                                                 debts, bank      unliquidated, partially secured, fill in total claim amount
                                                                                 loans,           or disputed and deduction for value of collateral or
                                                                                 professional                   setoff to calculate unsecured claim.
                                                                                 services, and
                                                                                                                  Total        Deduction       Unsecured
                                                                                                                  claim, if    for value of    claim
                                                                                                                  partially    collateral
                                                                                                                  secured      or setoff

                                           ATTN ANGELICA ÖBERG
20 STENA RECYCLING AB                      T:0736 28 40 84
   BOX 68                                  E:                            TRADE VENDOR                                                           $4,605,394.00
   HALLSTAHAMMAR, 734 22 SWEDEN            ANGELICA.OBERG@STENARECYCLING
                                           .SE

21 SENIOR MATERIAL (EUROPE) AB             ATTN SOPHIE CHEN
   SVISTA LAGERVÄG 8                       T:+46 76 697 40 87              TRADE VENDOR                                                         $4,548,453.00
   ESKILSTUNA, 633 62 SWEDEN               E: ORDER.RECEIVING@SENIOR798.EU


22 RANDSTAD AB
                                           ATTN SUSANNE HOLMBERG
   RÄTTARVÄGEN 3                                                                 TRADE VENDOR                                                   $4,265,556.00
                                           E: KUNDFAKTUROR@RANDSTAD.SE
   SOLNA, 169 68 SWEDEN


23 KEDALI SWEDEN AB
                                           ATTN YU JIN
   TORSGATAN 122                                                                 TRADE VENDOR                                                   $4,237,991.00
                                           E: YU.JIN@KEDALI.SE
   SKELLEFTEÅ, 931 96 SWEDEN

   HANWHA MOMENTUM
24 20 PANGYOYEOK-RO 241BEON-GIL,         ATTN SEONGWOO LIM
   BUNDANG-GU, SEONGNAM-SI, GYEONGGI- T:+82 10 5298 9121                         TRADE VENDOR                                                   $4,100,559.00
   DO, SOUTH KOREA                       E: MANDOLA@HANWHA.COM
   SEONGNAM-SI, 13494 KOREA, REPUBLIC OF

25 VENTPARTNER I VÄSTMANLAND AB            ATTN EMIL BERGQUIST
   STUBBENGATAN 2                          E:                                    TRADE VENDOR                                                   $4,091,267.00
   ÖREBRO, 703 44 SWEDEN                   EMIL.BERGQUIST@VENTPARTNER.SE


26 KATAOKA CORPORATION                     ATTN KAZUMA MORI
   140 TSUKIYAMA-CHO KUZE                  T:818022305739                        TRADE VENDOR                                                   $3,993,171.00
   KYOTO, 601-8203 JAPAN                   E: K-MORI@KATAOKA-SS.CO.JP


27 AXIMA CONCEPT                           ATTN SOPHIE GRANJU
   49 RUE LOUIS BLANC                      E:                                    TRADE VENDOR                                                   $3,874,191.00
   COURBEVOIE, 92400 FRANCE                GUILLAUME.PASTEAU@EQUANS.COM


28 J.P MORGAN
                                           ATTN LEGAL DEPARTMENT
   TAUNUSTOR 1                                                                   TRADE VENDOR                                                   $3,721,128.00
                                           E: BHAVIN.X.SHAH@JPMORGAN.COM
   FRANKFURT AM MAIN, 60310 GERMANY


29 CIS CO. LTD.
                                           ATTN CADRIC. EUNHO KIM
   37, PALGONG-RO 47-GIL, DONG-GU                                                TRADE VENDOR                                                   $3,715,101.00
                                           E: JHPARK0211@CISRO.CO.KR
   DAEGU, KOREA, REPUBLIC OF


30 VAKANTA AB (CLIENT FOUNDS ACCOUNT)
                                           ATTN JOHAN HANSSON
   REGERINGSGATAN 38                                                             TRADE VENDOR                                                   $3,547,391.00
                                           E: JOHAN.HANSON@VAKANTA.SE
   STOCKHOLM, 111 56 SWEDEN




  Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                              page 3
                Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 52 of 63



    Fill in this information to identify the case and this filing:

   Debtor Name          Northvolt AB

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement


    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       11/21/2024                                 /s/ Pia Aaltonen-Forsell
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Pia Aaltonen-Forsell
                                                                                 Printed name
                                                                                 Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
        Case 24-90577 Document 1 Filed in TXSB on 11/21/24 Page 53 of 63




          NORTHVOLT AB (Swedish reg. no. 559015-8894) (the “Company”)
      RESOLUTIONS ADOPTED BY THE BOARD OF DIRECTORS (the “Board”)
                           November 20, 2024

         It was noted that the Board has reviewed and considered certain materials presented by, or
on behalf of, the Company’s management (the “Management”) and financial and legal advisors
(collectively, the “Advisors”), including, but not limited to, (i) materials regarding the liabilities,
obligations, and liquidity of the Company, the strategic alternatives available to the Company, and
the impact of the foregoing on the Company’s business and the business of the Company’s
affiliates, (ii) the information and advice previously provided to and reviewed by the Board, and
(iii) the related matters reported at meetings of the Board on and before the date hereof;

       It was noted that the Board has had adequate opportunity to consult with Management and
the Advisors regarding the materials presented, to obtain additional information, and to fully
consider each of the strategic alternatives available to the Company; and

         It was noted that the Board had considered its fiduciary duties under applicable law in
exercising its powers and discharging its duties, and that the Board has determined, in an exercise
of its business judgment, that the following resolutions are advisable and in the best interest of the
Company and its creditors, and other parties in interest, and are made in good faith and in the
absence of fraud, coercion, duress or undue influence.

       In view of the above, the Board decided to adopt the following resolutions:

                           VOLUNTARY PETITIONS FOR RELIEF

       It was resolved, that in the judgment of the Board, it is desirable and in the best interests
of the Company and its creditors and other parties in interest, that the Company shall be, and
hereby is, in all respects authorized to file, or cause to be filed, a voluntary petition for relief
(the “Bankruptcy Petition”) under the provisions of chapter 11 of title 11 of the United States Code,
11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) in the United States Bankruptcy
Court for the Southern District of Texas (the “Bankruptcy Court”) for the Company; and, in
accordance with the requirements of the Company’s governing documents and applicable law,
hereby consents to, authorizes, and approves, the filing of the Bankruptcy Petition; and

         It was resolved, that Pia Aaltonen-Forsell with full power of substitution be, and hereby
individually is, authorized to execute and file on behalf of the Company all petitions, schedules,
lists, and other motions, papers, or documents, and to take any and all action that such person
deems necessary or proper to obtain such relief, including, but not limited to, any action necessary
or proper to maintain the ordinary course operations of the Company.

                              RETENTION OF PROFESSIONALS

       It was resolved that Pia Aaltonen-Forsell, with full power of substitution, be, and hereby
individually is, authorized, empowered and directed to employ the following professionals on
behalf of the Company:                (i) the law firm of Kirkland & Ellis LLP and
Kirkland & Ellis International LLP, as general bankruptcy counsel; (ii) the law firm of
Haynes and Boone, LLP, as local bankruptcy counsel; (iii) the firm of Teneo Capital LLC, as
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financial advisor; (iv) the firm of N.M. Rothschild & Sons Limited, as investment banker;
(v) Stretto, Inc., as claims, noticing, solicitation, and administrative agent; (vi) Mannheimer
Swartling Advokatbyrå AB, as Swedish counsel; and (vii) any other legal counsel, accountants,
financial advisors, restructuring advisors, or other professionals such person deems necessary,
appropriate, or advisable; each to represent and assist the Company in carrying out its duties and
responsibilities and exercising its rights under the Bankruptcy Code and any applicable law
(including, but not limited to, the law firms filing any pleadings or responses) and to take any and
all actions to advance the rights and obligations of the Company, including filing any motions,
objections, replies, applications, or pleadings; and in connection therewith, Pia Aaltonen-Forsell
be, and hereby individually is authorized, empowered, and directed, in accordance with the terms
and conditions hereof, to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed appropriate applications for authority to retain such services; and

          It was resolved that Pia Aaltonen-Forsell, be, and hereby individually is, authorized,
empowered, and directed to execute (under the common seal of the Company, if appropriate) and
file all petitions, schedules, motions, lists, applications, pleadings, and other papers, and to perform
such further actions and execute (under the common seal of the Company, if appropriate) such
further documentation that such person in her absolute discretion deems necessary, appropriate, or
desirable in accordance with these resolutions.

                           DEBTOR-IN-POSSESSION FINANCING

       It was noted that the Company will obtain benefits, which are necessary and convenient to
the conduct, promotion, and attainment of the business of the Company, from the incurrence of
debtor-in-possession financing obligations by entering into that certain Debtor-In-Possession
Credit Agreement with, amongst others, Scania CV AB (publ) (as further described under item 1
in Schedule I attached hereto) (the “DIP Credit Agreement”), to be dated on or about November
20, 2024 (the “DIP Financing”), as documented in the proposed order in interim and final form
(the “DIP Order”) submitted for approval to the Bankruptcy Court;

       It was resolved to approve the DIP Financing and the DIP Order and that, in order to use
and obtain the benefits of the DIP Financing, the Company shall enter into, execute, deliver and
perform the DIP Credit Agreement, the DIP Order, and those documents listed in Schedule I
attached hereto, as applicable (collectively with the DIP Credit Agreement, the “DIP Financing
Documents”), and the documents listed in Schedule II attached hereto (the “DIP Conditions
Precedent Documents”), and any DIP Related Documents (as defined below) which the Company
may enter into and/or execute;

        It was resolved to approve that the Company’s (direct and indirect) subsidiaries Northvolt
Systems AB, Northvolt Labs AB, Northvolt Revolt AB, and Northvolt Systems Poland sp. z o.o.
enter into the relevant DIP Financing Documents and any other document relating to the DIP
Financing to which it is a party (including providing security and/or guarantee in relation thereto)
in accordance with the terms and conditions stated therein;

        It was resolved to ratify the terms of, and the transactions contemplated by the agreements
set out under items 3-4 in Schedule II attached hereto entered into before the date of these board
minutes;


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        It was resolved that the form, terms, and provisions of the DIP Financing Documents and
the DIP Conditions Precedent Documents and the actions and transactions contemplated thereby
be, and hereby are, authorized, adopted, and approved in all respects, and that the Company shall
enter into the DIP Financing Documents, the DIP Conditions Precedent Documents (other than the
documents described in the preceding paragraph, which are ratified) and any DIP Related
Document (as defined below), subject to approval by the Bankruptcy Court;

       It was resolved that the form, terms, and provisions of the DIP Order, to which the
Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are, authorized, adopted, and approved in all respects, and any two jointly of Thomas
Johnstone, Peter Carlsson, Cecilia Swolin, and Pia Aaltonen-Forsell (the “Authorized Persons”),
each with full power of substitution, of the Company be, and hereby are, authorized, directed, and
empowered, in the name of and on behalf of the Company, to take such actions and negotiate or
cause to be prepared and negotiated and to sign, execute, deliver, perform, and cause the
performance of, the DIP Order, the DIP Financing Documents and the DIP Conditions Precedent
Documents;

        It was resolved to confirm the authorization of Thomas Johnstone and Peter Carlsson to
jointly sign, execute and deliver the agreements set out under items 3-4 of Schedule II attached
hereto;

         It was resolved to authorize any two jointly of Thomas Johnstone, Peter Carlsson, Andreas
Rohman, Steven Cespedes, Anders Ekwall, Pia Aaltonen-Forsell, Cecilia Swolin and Katherine
Bagerman, each with full power of substitution, to, on behalf of the Company, sign, execute,
deliver, issue, dispatch all other agreements, documents, powers of attorney, confirmations,
utilization requests, extension requests, endorsements on share certificates representing shares
pledged pursuant to any DIP Financing Document and/or any DIP Conditions Precedent
Document, amendments certificates, instruments, fee letters, notices, receipts, recordings, filings,
petitions, motions, or other papers or documents to which such Company is or will be a party, and
such other agreements, instruments, certificates, notices, assignments, amendments and documents
as may be reasonably requested by the agent (the “DIP Agent”) under the DIP Financing (the “DIP
Related Documents” and collectively with the DIP Order, the DIP Financing Documents and the
DIP Conditions Precedent Documents, the “DIP Documents”), incur and pay, or cause to be paid,
all fees and expenses and engage such persons, in each case, in the form or substantially in the
form thereof submitted to the Board, with such changes, additions, and modifications thereto as
the Authorized Persons of such Company executing the same shall approve, such approval to be
conclusively evidenced by such officers’ execution and delivery thereof;

        It was resolved that the Company, as debtor and debtor in possession under the Bankruptcy
Code and the Company’s subsidiaries, as applicable, shall undertake any and all related
transactions on substantially the same terms as contemplated under the DIP Documents
(collectively, the “DIP Transactions”), including the guaranty of the obligations thereunder and
the granting of liens and share pledges, as applicable, to secure such obligations;

        It was resolved that any two jointly of the Authorized Persons, each with full power of
substitution be, and hereby are, authorized and directed, and empowered in the name of, and on
behalf of, such Company, as debtor and debtor in possession, to take such actions as in their


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discretion is determined to be necessary, desirable, or appropriate and effectuate the DIP
Documents and the DIP Transactions, including the DIP Credit agreement, any commitment letter,
and the DIP Order, including delivery thereof, and any two jointly of Thomas Johnstone, Peter
Carlsson, Andreas Rohman, Steven Cespedes, Anders Ekwall, Pia Aaltonen-Forsell, Cecilia
Swolin, and Katherine Bagerman, each with full power of substitution be, and hereby are,
authorized and directed, and empowered in the name of, and on behalf of, such Company, as debtor
and debtor in possession, to take such actions as in their discretion is determined to be necessary,
desirable, or appropriate and effectuate the DIP Documents and the DIP Transactions, except for
the DIP Financing Documents, the DIP Conditions Precedent Documents and the DIP Order,
including delivery thereof;

        It was resolved that any two jointly of Thomas Johnstone, Peter Carlsson, Andreas
Rohman, Steven Cespedes, Anders Ekwall, Pia Aaltonen-Forsell, Cecilia Swolin and Katherine
Bagerman, each with full power of substitution, be, and hereby are, authorized, directed, and
empowered in the name of, and on behalf of, the Company to file or to authorize the DIP Agent to
file any Uniform Commercial Code (the “UCC”) financing statements, any other equivalent
filings, any intellectual property filings and recordation, and any necessary assignments for
security or other documents in the name of such Company that the DIP Agent deems necessary or
appropriate to perfect any lien or security interest granted under the DIP Order, including any such
UCC financing statement containing a generic description of collateral, such as “all assets,” “all
property now or hereafter acquired,” and other similar descriptions of like import, and to execute
and deliver, and to record or authorize the recording of, such mortgages and deeds of trust in
respect of real property of such Company and such other filings in respect of intellectual and other
property of such Company, in each case as the DIP Agent may reasonably request to perfect the
security interests of the DIP Agent under the DIP Order;

        It was resolved that any two jointly of Thomas Johnstone, Peter Carlsson, Andreas
Rohman, Steven Cespedes, Anders Ekwall, Pia Aaltonen-Forsell, Cecilia Swolin, and Katherine
Bagerman, , each with full power of substitution, be, and hereby are, authorized, directed, and
empowered in the name of, and on behalf of, the Company to: (a) prepare any amendments,
waivers, consents, supplements, or other modifications under or to the DIP Documents to which
the Company is a party which shall in their sole judgment be necessary, proper, or advisable to
perform the Company’s obligations under or in connection with the DIP Order or any of the other
DIP Documents and the transactions contemplated therein and to carry out fully the intent of the
foregoing resolutions, and (b) execute and deliver such amendments, waivers, consents,
supplements, or other modifications under such agreements or documents, the execution and
delivery thereof by such persons to be deemed conclusive evidence of the approval and ratification
thereof by such persons or that such persons deemed such standard to be met; and

        It was resolved that each of the Authorized Persons of the Company, acting individually
and with full power of substitution, be, and hereby is, authorized, directed, and empowered in the
name of, and on behalf of, the Company to take all such further actions, including, without
limitation, to pay or approve the payment of all fees and expenses payable in connection with the
DIP Transactions and all fees and expenses incurred by or on behalf of the Company in connection
with the foregoing resolutions, in accordance with the terms of the DIP Documents, which shall in
their sole judgment be necessary, proper, or advisable to perform the Company’s obligations under



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or in connection with the DIP Order or any of the other DIP Documents and the transactions
contemplated therein and to carry out fully the intent of the foregoing resolutions.

                 CASH COLLATERAL AND ADEQUATE PROTECTION

       It was noted that the Company will obtain benefits, which are necessary and convenient to
the conduct, promotion, and attainment of the business of the Company, from the use of collateral,
including cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), including but not limited to funds held in the “Debt Service Reserve
Account” as defined in that certain Accounts Agreement, dated as of July 28, 2020, as amended,
supplemented, or otherwise modified from time to time, among Northvolt Ett AB as the Borrower,
Northvolt Ett Fastighetsförvaltning AB as PropCo, the Company as the Sponsor, Swedbank AB
(PUBL) as the Account Bank and the Security Agent, and ING Bank N.V. as the Intercreditor
Agent (each as defined in the Accounts Agreement), which is security for

       (i)     those certain prepetition secured lenders (collectively, the “1L Secured Lenders”)
               party to

               (a)    that certain “Euler Hermes Covered Facility Agreement”, dated as of July
                      28, 2020, as amended, supplemented, or otherwise modified from time to
                      time, among Northvolt Ett AB as the Borrower, Sumitomo Mitsui Banking
                      Corporation, Brussels Branch as the Euler Hermes Covered Facility Agent,
                      Sumitomo Mitsui Banking Corporation, Dusseldorf Branch as the Euler
                      Hermes ECA Agent, ING Bank N.V. as the Intercreditor Agent, and certain
                      financial institutions party thereto from time to time (each as defined in the
                      Euler Hermes Covered Facility Agreement),

               (b)    that certain “BPIAE Covered Facility Agreement,” dated as of July 28,
                      2020, as amended, supplemented, or otherwise modified from time to time,
                      among Northvolt Ett AB as the Borrower, Sumitomo Mitsui Banking
                      Corporation, Brussels Branch as the BPIAE Covered Facility Agent,
                      Sumitomo Mitsui Banking Corporation Europe Limited, Paris Branch as the
                      BPIAE ECA Agent, ING Bank N.V. as the Intercreditor Agent, and certain
                      financial institutions party thereto from time to time (each as defined in the
                      BPIAE Covered Facility Agreement),

               (c)    that certain “NEXI Covered Facility Agreement,” dated as of July 28, 2020,
                      as amended, supplemented, or otherwise modified from time to time, among
                      Northvolt Ett AB as the Borrower, Sumitomo Mitsui Banking Corporation,
                      Brussels Branch as the NEXI Covered Facility Agent, Sumitomo Mitsui
                      Banking Corporation as the NEXI ECA Agent, and certain financial
                      institutions party thereto from time to time (each as defined in the NEXI
                      Covered Facility Agreement,

               (d)    that certain “KEXIM Direct Facility Agreement,” dated as of July 28, 2020,
                      as amended, supplemented, or otherwise modified from time to time, among
                      Northvolt Ett AB as the Borrower, the Export-Import Bank of Korea as the


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               KEXIM Direct Lender and the KEXIM Direct Facility Agent, and ING
               Bank N.V. as the Intercreditor Agent (each as defined in the KEXIM Direct
               Facility Agreement),

        (e)    that certain Finance Contract (“EIB Finance Contract”), dated as of July 28,
               2020, as amended, supplemented, or otherwise modified from time to time,
               between Northvolt Ett AB as the Borrower and European Investment Bank
               as the Bank (each as defined in the EIB Finance Contract),

        (f)    that certain “Commercial Uncovered Facility Agreement,” dated as of July
               28, 2020, as amended, supplemented, or otherwise modified from time to
               time, among Northvolt Ett AB as the Borrower, ING Bank N.V. as the
               Commercial Uncovered Facility Agent and the Intercreditor Agent, and
               certain financial institutions party thereto from time to time (each as defined
               in the Commercial Uncovered Facility Agreement), and

        (g)    that certain “Revolving WC Facility Agreement,” dated as of July 28, 2020,
               as amended, supplemented, or otherwise modified from time to time, among
               Northvolt Ett AB as the Borrower, ING Bank N.V. as the Revolving WC
               Facility Agent and the Intercreditor Agent, and certain financial institutions
               party thereto from time to time (each as defined in the Revolving WC
               Facility Agreement);

        (h)    that certain “Common Terms Agreement” dated as of July 28, 2020, by and
               among Northvolt Ett AB as borrower, Ett PropCo as propco, ING Bank
               N.V. as intercreditor agent, Swedbank AB (publ) as Security Agent, and
               certain lenders, mandated lead arrangers, and facility agents party thereto
               (each as defined in the Common Terms Agreement);

        (i)    that certain “Equity Contribution and Retention Agreement” by and among
               Northvolt AB, as sponsor, Northvolt Ett AB, as borrower, the Intercreditor
               Agent, and the Security Agent (each as defined in the Equity Contribution
               Agreement);

(ii)    those certain prepetition secured lenders (collectively, the “2L Secured Lenders”
        and together with the 1L Secured Lenders, the “Cash Collateral Secured Parties”)
        party to that certain “Second Lien Facility Agreement,” dated as of July 28, 2020,
        as amended, supplemented, or otherwise modified from time to time, among
        Northvolt Ett AB as the Borrower, Northvolt Ett Fastighetsförvaltning AB as
        PropCo, ING Bank N.V. as the Intercreditor Agent, Danske Bank A/S as the
        Original Facility Agent, and certain financial institutions party thereto from time to
        time (each as defined in the Second Lien Facility Agreement);

(iii)   that certain “Security Agency and Intercreditor Deed” by and among Northvolt AB,
        as sponsor, Northvolt Ett AB, as borrower, the Intercreditor Agent, and the Security
        Agent 1L Secured Lenders, 2L Secured Lenders and Secured Hedge Counterparties
        (each as defined in the Security Agency and Intercreditor Deed); and



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       It was resolved that in order to use and obtain the benefits of the Cash Collateral, and in
accordance with section 363 of the Bankruptcy Code, the Company and its (direct and indirect)
subsidiaries Northvolt Systems AB, Northvolt Labs AB, Northvolt Revolt AB, Northvolt Ett AB,
Northvolt Ett Fastighetsförvaltning AB, and Northvolt Poland sp. z o.o. will provide certain liens,
claims, and adequate protection to the Cash Collateral Secured Parties (the “Cash Collateral
Adequate Protection Obligations”), as documented in a proposed interim order (the “Interim Cash
Collateral Order”) and submitted for approval to the Bankruptcy Court;

       It was resolved that the form, terms, and provisions of the Interim Cash Collateral Order to
which the Company is or will be subject, and the actions and transactions contemplated thereby
be, and hereby are authorized, adopted, and approved, and any two jointly of the Authorized
Persons be, and hereby are, authorized and empowered, in the name of and on behalf of the
Company, to take such actions and negotiate or cause to be prepared and negotiated and to sign,
execute, deliver, perform, and cause the performance of, the Interim Cash Collateral Order, and,
those documents listed in Schedule I attached hereto, as applicable;

         It was resolved to authorize any two jointly of Thomas Johnstone, Peter Carlsson, Andreas
Rohman, Steven Cespedes, Anders Ekwall, Pia Aaltonen-Forsell, Cecilia Swolin, and Katherine
Bergman, with full power of substitution, to, on behalf of the Company, sign, execute, deliver,
issue, dispatch all such other agreements, documents, powers of attorney, confirmations,
utilization requests, extension requests, endorsements on share certificates representing shares
pledged pursuant to any document listed in Schedule I attached hereto, and to incur and pay or
cause to be paid all fees and expenses and engage such persons, in each case, in the form or
substantially in the form thereof submitted to the Company, with such changes, additions, and
modifications thereto as such persons executing the same shall approve, such approval to be
conclusively evidenced by such persons’ execution and delivery thereof; and

        It was resolved that the Company, as debtor and debtor in possession under the Bankruptcy
Code and certain of its subsidiaries (as set out above) shall incur the Cash Collateral Adequate
Protection Obligations.

                        FURTHER ACTIONS AND PRIOR ACTIONS

        It was resolved that each of the Authorized Persons, be, and hereby individually is,
authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers, and to perform such further actions and execute such
further documentation that such Authorized Persons in their absolute discretion deems necessary,
appropriate, or desirable in accordance with these resolutions;

        It was resolved that, in addition to the specific authorizations heretofore conferred upon
the Authorized Persons, the Authorized Persons, either individually or as otherwise required by
the Company’s governing documents and applicable law, be and each of them hereby is,
authorized to take any and all such other and further actions, and to do all such other deeds and
other things as the Company itself may lawfully do, in accordance with its governing documents
and applicable law, including but not limited to, the negotiation, finalization, execution,
acknowledgement, delivery, and filing of any and all agreements, amendments, supplements,
certificates, instruments, powers of attorney, letters, forms, transfer, deeds, resolutions, and other


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documents on behalf of the Company, and the payment of all expenses, including but not limited
to filing fees, in each case as such Authorized Person or Authorized Persons may, in
his/her/its/their absolute and unfettered discretion approve, deem or determine necessary,
appropriate, advisable, or desirable in order to fully carry out the intent and accomplish the
purposes of the resolutions adopted herein; such approval, deeming, or determination to be
conclusively evidenced by said individual taking such action or the execution thereof;

        It was resolved that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of the Company, which acts would
have been approved by the foregoing resolutions except that such acts were taken before the
adoption of these resolutions, are hereby in all respects approved, confirmed and ratified as the
true acts and deeds of the Company with the same force and effect as if each such act, transaction,
agreement, or certificate had been specifically authorized in advance by resolution of the Board of
the Company; and

       It was resolved that (a) the foregoing resolutions may be executed and delivered
electronically (including by facsimile or portable document format (pdf) transmission), (b) these
resolutions may be executed in one or more counterparts, each of which shall be deemed an
original and all of which shall constitute one and the same instrument and (c) facsimile and other
electronic copies of manually signed originals shall have the same effect as manually-signed
originals and shall be binding on the Board and the Company.

                                     [Signature page follows]




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                   I hereby certify that this document truly and correctly reflects the resolutions approved by
            the Board on the date set forth above.



                                                             By:
                                                             Name: Cecilia Swolin
                                                             Title: General Counsel
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                             Schedule I

                 [Filed with the minutes of the Board]




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                             Schedule II

                 [Filed with the minutes of the Board]




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